. Defendant's Age:

 

 

Soa UCHANGE OF PLEA PROCEEDINGS
ARRAIGNMENT/PLEA/GHANGE OF PLEA PROCEEDINGS

Dats__Jo/Qai3 Case No. V1.2.) TO.

UNITED STATES vs. J O0S@ 0H WAC

Courtroom Deputy C —s Court Reporter CISA Paz Vrs Le
In ter :

AUSA: _C Pua lee. eco}
Defendant's Counsel: (vey C195 9e+t-

" Education: “Some College.
ARRAIGNMENT/PLEA:

© Defendant waives assistance of counsel © Waiver filed
@ Asraignment continued until a at ampn
a Defendant signs waiver of indictment/consents to proceed by information .
© Criminal information filed © Superseding indictment/information filed
© Defendant waives reading of indictmenv/information .
© Defendant arraigned“
© Defendant enters plea of
8 Guilty © Net Guilty to Count(s)
See below for next hearing date

 

 

 

 

 

__ of the (superseding) indictment/information

 

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E OF PLEA:
oy leave of Court, defendant withdraws former plea of not guilty and enters a plea of Guy to

Count{ | of the (superseding) i ion
® Sti of Facts relative to sentencing filed © > With » Without

Court ‘ iu, \ ' te
and approves © the Stipulation of Facts
as the adoption of © the Stipulation of Facts © Plex Agreement

2 Facts/Plea Agreement filed under seal
entencing set tas | 1p | a _/04D Camp

held in abeyance until sentencing
co notifvedey-B-mai! in courtroom at . an/pm

 

 

{Sf A was on bond and is remanded, change location code to “LC."}

“f

 

Defendant's atiorney present ato am/pm
Proceedings commenced at LL Ba Aan and concluded at jigs Am

 

 

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